                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


  CHAMBER OF COMMERCE OF THE
  UNITED STATES OF AMERICA, et al.,
        Plaintiffs,                       Case No. 1:21-cv-410-DKC
  vs.
  PETER FRANCHOT,
        Defendant.




MOTION OF TAX LAW PROFESSORS FOR LEAVE TO FILE AS AMICI CURIAE IN
  SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                     SUMMARY JUDGMENT
        Professors Darien Shanske and Young Ran (Christine) Kim (collectively, “Tax Law

Professors”) respectfully ask that the Court grant leave to file the attached amici curiae brief in

support of Defendant’s Response in Opposition to Plaintiffs’ Motion for Summary Judgment.

Dkt. 36. Counsel for Tax Law Professors has contacted all parties regarding this motion.

Counsel is informed that Plaintiffs take no position on this motion, and Defendant consents.

        Plaintiffs have filed a challenge to Maryland’s recently-passed tax on the revenues that

entities of a certain size derive from digital advertising services in the state, Md. Code Ann.,

Tax-Gen. §§ 7.5-102, 7.5-103, and now seeks to enjoin implementation of that tax by Defendant.

Dkt. 1. Professors Shanske and Kim are professors of tax law with particular expertise and

interest in state and local taxation, as well as digital services taxes. They seek to file this motion

to provide information regarding the unique nature of digital advertising as compared to non-

digital services, the implications for tax policy, and how these issues should affect the court’s

analysis, in particular under the Internet Tax Freedom Act.

        This Court has inherent authority to allow amici curiae to participate and assist the Court.

See Bryant v. Better Bus. Bureau of Greater Md., Inc., 923 F. Supp. 720, 728 (D. Md. 1996).

Because the Tax Law Professors have a “special interest in the subject matter of [this] suit” and

their brief provides “timely and useful” information for this Court to consider when adjudicating

Plaintiff’s motion for summary judgment, id., the Professors respectfully request that this Court

grant leave to file the attached amicus curiae brief in support of Defendant’s Response in

Opposition to Plaintiff’s Motion for Summary Judgment. See Dkt. 36.

        Under Local Rules 105.12(b), a motion for leave to file an amici brief must state “(1) the

movant’s interest; (2) the reason why an amicus brief is desirable and why the matters asserted are

relevant to the disposition of the case; (3) which party’s filing the brief supports, if any; (4) whether a




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party’s counsel authored the brief in whole or part; and (5) whether a party or its counsel contributed

money to fund the preparation and/or submission of the brief.”

         Interests: The Tax Law Professors are experts in the law of taxation. Professor Shanske is

a professor of law at the University of California, Davis School of Law, with significant

experience advising state and local governments on tax law. He is a nationally recognized expert

in taxation, particularly state and local taxation and the application of federalism principles to

state and local tax law. He has written extensively on tax law and public finance, including

dozens of journal articles.1

          Professor Kim is an associate professor of law at the University of Utah College of Law

who specializes in taxation, with a particular expertise in business tax, the intersection of tax and

technology, and cross-border taxation. Professor Kim teaches Federal Income Tax, Taxation of

Business Entities, and International Tax. She has written extensively on taxation issues in the

new digital era, including digital services taxes. 2

          Plaintiffs in this case ask the court to apply the federal Internet Tax Freedom Act to

preempt Maryland’s tax, and, by inference, similar proposed taxes in other states. As experts in

the legal issues underlying Plaintiffs’ claims, Professors Shanske and Kim have a special interest

in ensuring that this Court has a fulsome record concerning the nature of Maryland’s tax and the

effects of Plaintiffs’ claim before ruling on Plaintiffs’ motion for summary judgment.

         Desirability and Relevance: The Tax Law Professors are widely published and

recognized experts on the legal issues underlying Plaintiffs’ claims. The attached brief distills

their expertise to “provide[] helpful information to the court regarding positions taken by the

[parties].” Washington Gas Light Co. v. Prince George’s Cnty. Council, Civil Action No. DKC



1
    See Professor Darien Shanske’s CV, attached as Exhibit A.
2
    See Professor Young Ran (Christine) Kim’s CV, attached as Exhibit B.


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08-0967, 2012 WL 832756, at *3 (D. Md. Mar. 9, 2012). Professors Shanske and Kim are in a

position to further explain the operations and business models of digital advertising companies,

their implications for tax policy, and the prevailing approach taken by the Supreme Court when

interpreting the scope of federal preemption in the context of state tax policy, particularly under

the Internet Tax Freedom Act.

       Support, Authorship, and Contribution: The Tax Law Professors support Defendants’

Response in Opposition to Plaintiff’s Motion for Summary Judgment. See Dkt. 36. No counsel

for any party authored the brief, in whole or in part, and no party or counsel contributed money

to fund preparation or submission of the brief.

       Accordingly, Professors Shanske and Kim respectfully request leave of this Court to file

their proposed amicus curiae brief.


 Dated: September 20, 2021                            Respectfully submitted,

                                                      s/ Patrick Thronson
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                                                      Counsel for Tax Law Professors

                                                      * Pro hac vice motion pending




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                               CERTIFICATE OF SERVICE

     I certify that on September 20, 2021, the above motion was filed using the court’s
Cm/ECF system, which will notify all registered counsel.

 Dated: September 20, 2021                         Respectfully submitted,

                                                   s/ Patrick Thronson
                                                   Counsel for Amici




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